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EXHIBIT 3

(Proposed Redactions of Document
Filed Under Seal at ECF No. 10-20)
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SIE Declaration to FTC on Microsoft — Activision Blizzard Transaction

Jim Ryan declares as follows:

. Iam the President and Chief Executive Officer of Sony Interactive Entertainment (“SIE”). I

have worked at SIE for nearly 30 years since joining SIE Europe in 1994. Other roles I have
held at SIE include Head of Global Sales and Marketing from 2016 to 2019 and Deputy
President from 2018 to 2019. I have been in my current role leading SIE since April 2019. In
this role, I manage SIE’s overall operations and strategy, with a focus on developing strong
relationships with business partners, building user engagement, and growing the PlayStation

business.

SIE Background

SIE is a multi-national video game company. SIE has approximately $24 billion in annual
revenue globally. Overall, approximately fj % of SIE’s revenue comes from sales across North
and South America.

SIE’s business is centered around the PlayStation (“PS”). The first PlayStation console was
released in 1994. New generations of PlayStation consoles have been released approximately
every 6 years. Within a generation, SIE may also release new versions of a console with
upgraded features, such as the PlayStation 4 Pro. PlayStation is currently in the middle of a
generational transition from PlayStation 4 to PlayStation 5. PlayStation 5 was released in 2020.
SIE earns revenues from three basic sources: hardware sales, game sales, and subscription
services. On hardware sales, about fi” of SIE revenue, or a billion annually, comes from
sales of PlayStation consoles and accessories. As explained below, however, SIE’s ability to sell

its hardware depends critically on the games that are compatible with PlayStation, because a
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customer’s choice of console is based largely on the availability of their preferred games and
game content.

5. PlayStation games are either (1) “first-party” games, generally meaning that they are produced
by SIE’s gaming studios, (2) “second-party” games, generally meaning that they are developed
for PlayStation by a third-party studio and published by SIE, or (3) “third-party” games,
generally meaning that they are independently developed by a third-party studio and published
by a third-party publisher. For first-party and second-party games, SIE typically retains the full
sales price of the game. In the fiscal year ending March 31, 2022, first-party games accounted
for fjeo of total game units sold. On third-party games, the amount SIE typically receives would

be the margin between the retail price SIE charges on the PlayStation Store and the wholesale

price negotiated with the publisher. Typically, this margin is around a. i

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7. As described below, there are a small subset of highly popular third-party games, like Ca// of
Duty, that are crucial to driving user engagement on PlayStation. These third-party games have
an outsized ability to draw gamers to PlayStation and to keep gamers coming back to their
PlayStation to play again and again. The increased PlayStation user base and engagement driven
by these third-party games in turn makes developing additional third-party games for PlayStation

more valuable to developers who want access to those PlayStation gamers.
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8. SIE also offers network services, including online gameplay, cloud gaming, and content
subscription services, to its users. About f% of SIE’s revenue in FY21, or im. came
from network services. Within network services, online gameplay services enable players to
play multiplayer games online with other players, while content subscription services provide
on-demand access to game libraries. Cloud gaming services allow subscribers to play certain
games streamed remotely from a central server instead of running them locally on a console.

9. In March 2022, SIE announced that it was re-organizing its network services into three plans.
The first plan, “PlayStation Plus Essential,” is $9.99 per month (or $24.99 for a quarter and
$59.99 for a year) and offers players online multiplayer access along with two monthly
downloadable games, discounts on other games, and cloud storage. “PlayStation Plus Essential”
offers the same services at the same price as did PlayStation Plus before the re-organization. The
second plan, “PlayStation Plus Extra,” provides access to a catalog of up to 400 PlayStation
games along with the features included with PlayStation Plus Essential, for $14.99 per month (or
$39.99 for a quarter and $99.99 for a year). The third plan, “PlayStation Plus Premium,”
provides access to a catalog of up to 740 games, including retro classics, along with cloud
streaming for some games and the services included with the previous two plans, for $17.99 per
month (or $49.99 for a quarter and $119.99 for a year). PlayStation Plus Essential is similar to
Microsoft’s Xbox Live Gold, which offers online gameplay, while PlayStation Plus Extra and
Premium are more like Microsoft’s leading Game Pass subscription service, which offers a
library of games to subscribers. Prior to the re-organization, PlayStation Now was a separate
game streaming and download service that offered players access to a library of PlayStation
games. As part of the re-organization, PlayStation Now subscribers were transitioned to the

PlayStation Plus Premium tier, and PlayStation Plus Essentials subscribers were given the option
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to upgrade to the PlayStation Plus Extra and Premium tiers. As of July 2022, PlayStation Plus

Extra hadi subscribers and PlayStation Plus Premium had subscribers.

Competition with Xbox and Game Pass

Gamers play video games on a wide range of devices, including dedicated gaming consoles,
general computers, computers optimized for gaming, tablets, and mobile phones. Gaming
consoles are hardware devices mainly dedicated to video games, enabling customers to play
deeply immersive games with detailed and realistic graphics that require high processing power
to run. Today’s popular consoles include SIE’s PlayStation, Microsoft’s Xbox, and the Nintendo
Switch.

Gamers choose between gaming platforms based on game libraries, hardware features, and price,
among other factors. For consoles, gamers are most likely to switch between console brands
when they purchase a console of a new generation, because at this point they have not yet bought
into a particular console’s ecosystem. Releases of a new console generation have historically
been followed by large redistribution of the user base. The success of a console brand can vary
by generation as gamers switch to whichever console they prefer. In the United States, for
example, the Xbox 360 outsold its generational rival, the PlayStation 3, while the PlayStation 4
outsold the Xbox One.

While PlayStation competes with non-console devices and the Nintendo Switch, at present,
PlayStation’s closest competitor in gaming is Microsoft’s Xbox. Competition between the Xbox
and PlayStation began when Microsoft launched the Xbox in 2001. PlayStation and Xbox

consoles offer similar graphics and user experiences at comparable price points, and
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the PlayStation and Xbox are usually released close in time. For example, the consoles in the
current generation are the PlayStation 5 and the Xbox Series X (and Series S). The PlayStation 5
was launched in November 2020 and retails for $499.99 for the edition including a disc drive, or
for $399.99 for the Digital Edition, which has no disc drive but is otherwise identical to the
version with a disc drive. The Xbox Series X/S was launched in November 2020 and retails for
$299.99 for the Series S, and $499.99 for the Series X; compared to the Series X, the Series S
has no disc drive, less storage space, and supports lower display resolutions. Due to high global
inflation rates and foreign exchange fluctuations, SIE recently announced a price increase for the
PSS in select regions outside the United States.

PlayStation and Xbox have competed closely against one another on hardware innovation. For
example, the PlayStation 5 featured a graphics processor that is over five times faster than that of
the previous generation and a controller with haptic feedback, 1.e., stylized vibrations that
correspond with actions or events within games. Where older rumble feedback technology
would vibrate a controller at a static frequency, haptic feedback involves scripted vibrations and
other sensations of varying intensity that can simulate the feeling of driving with a flat tire or the
impact of getting punched on the left side of your head. The Xbox Series X likewise
incorporated meaningful improvements over the previous generation of Microsoft’s consoles,
including doubling the computing power of the Xbox One X and adding a solid state drive.
Today, other consoles are not as close competitors. The Nintendo Switch has lower performance
than both the PlayStation 5 and Xbox Series X. A simplified way of measuring console power
and system capability is “FLOPS,” which counts the number of certain operations that a graphics
processing unit (“GPU”) can process per second. While the Xbox Series X can process 12

teraFLOPS and the PlayStation 5 can process 10.3 teraFLOPS, the Nintendo Switch can handle
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less than 1 teraFLOPS. Further, the Switch runs on a battery similar to what is found in a cell
phone or other small device that requires charging, unlike PlayStation and Xbox consoles that
are designed to be plugged into a wall for a constant source of power. Due to these differences,
games designed to run on the Xbox and PlayStation typically cannot run on a Switch. Instead,
the games that are most popular on Switch are generally published by Nintendo and comprised
mostly of their family-friendly brands such as Mario, Legend of Zelda, Animal Crossing, and
Pokémon. These games lend themselves well to a portable or docked play experience optimized

to run on the Switch’s lower-power hardware. Illustrating the difference between

PlayStation/Xbox and Nintendo Switch, C_.. -—ri<‘<s;C;CSC™;”*~™Y
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Gamers can also play video games on personal computers (“PCs”). While PCs are general
purpose, there are also specialized gaming PCs with parts selected for high performance while
running video games. Gaming PCs also are not as close competitors as PlayStation and Xbox at
present. Many of the same games can be played on gaming PCs as on PlayStation/Xbox. But
gaming PCs are more expensive than PlayStation/Xbox, with gaming PCs typically costing
$800-2,500+ as opposed to $400-500 for consoles at first release. High-end gaming PCs can
more easily handle games with greater graphical intensity and often run games faster than game
consoles. There is also a difference in the technical competency required for gaming PC use in
comparison to console use. While consoles are designed to be used out of the box, require
minimal technical knowledge, and are not customized by users other than to add storage, many

gaming PC users build or customize their device with components from a variety of

manufacturers. While consoles are updated by the manufacturer uniformly and generationally,
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users of gaming PCs are generally expected to determine for themselves when and how upgrades
are required.

Just as Xbox and PlayStation are the closest competitors in consoles, Microsoft’s content
subscription service Game Pass is the closest competitor to SIE’s content subscription service,
PlayStation Plus Extra/Premium. In early 2022, SIE integrated its legacy content subscription
service, PS Now, into its new tiered PS Plus Extra and PS Plus Premium services with more and
better games, enabling it to compete more effectively with Game Pass. Both Game Pass and the
Extra and Premium tiers of the new PS Plus offer consumers access to libraries of hundreds of
games. While building game libraries to attract consumers to Game Pass and PS Plus

Extra/Premium, Microsoft and SIE often make competing offers to third-party developers to

place their content on these subscription services. For instance, |
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PE Microsoft often requires that titles included on Game Pass—particularly titles
offered on Game Pass the same day they are released—not be made available on other
subscription services.

The monthly subscription fees for Game Pass and PS Plus are competitive. Both Game Pass
Ultimate and PS Plus Extra cost $14.99 per month, while PS Plus Premium costs $17.99 per
month. However, many PS Plus subscribers take advantage of annual subscription options at
discounted rates, $99.99 per year for PS Plus Extra and $119.99 per year for PS Plus Premium,
while Game Pass does not offer discounted annual subscriptions. Game Pass Ultimate is
available on both Xbox and PC. PS Plus Extra and Premium are both available on PlayStation

and Premium is available on PC through cloud streaming.
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Importance of High-Quality Games to PlayStation

The competitiveness of PlayStation with Xbox is contingent on the availability of high-quality
games that utilize the innovative and computing-resource-intensive features of the console. If
PlayStation does not have access to the best games, and those games are available only on Xbox,
most consumers will choose Xbox instead. And the consumers who would have chosen a

PlayStation are harmed because they lose the ability to play on their first-choice console.

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The largest console games on PlayStation or Xbox are predominately AAA games. AAA games
often feature cinematic storytelling, immersive environments, and detailed graphics. Some AAA
titles are parts of franchises, which encompass releases of multiple, related titles that often have
the same feel or feature related storylines.

Developing and producing AAA games often costs over $100 million, requires hundreds or
thousands of developers, and takes years. For instance, development on Horizon Forbidden
West, a 2022 SIE first-party release, lasted a total of years, starting in and ending in 2022.
The game cost 7 million to develop, and peak headcount was over fi full time employees.
Development on The Last of Us Part IT, a 2020 SIE first-party release, took longer at months,
starting ni and ending in 2020. Developments costs were around tT] million, and
headcount peaked around fil full time employees. In addition to development costs, global
marketing costs for AAA games are large, even for established franchises.

Highly successful AAA games also create deep and ongoing engagement with players. Many

players will invest hundreds of hours per year in playing their favorite AAA games. This
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ongoing engagement stems from the fact that, for many gamers, it is a social activity. Many
AAA games can also be played or experienced collaboratively, often in real time. Friends will
play the same franchise, and gamers will form social groups and create new friendships with
other players of the same franchise. The communities that develop around AAA games lead to
deep roots. Players develop loyalty to the franchise and purchase new installments as they are
released.

A comparison of the engagement with a AAA game to the engagement with a big budget
Hollywood movie is instructive to understand player loyalty to game franchises. While most
viewers of a movie will watch it once, players of a successful multiplayer AAA game will play it
constantly; while a movie might run 2 hours, players of a successful multiplayer AAA game may

play it for hundreds of hours a year.

Importance of Activision Games—Especially Call of Duty—to PlayStation

Activision Blizzard’s portfolio of games in general, and its Ca// of Duty franchise in particular,
have been critical to PlayStation’s competitiveness. Activision Blizzard’s portfolio of games is
impressive in reach and engagement. Its franchises on PlayStation include Cail of Duty, Diablo,
and Overwatch. It also has leading franchises that are available only on PC or mobile, such as
Candy Crush on mobile or World of Warcraft and Starcraft on PC. While SIE 1s particularly
concerned about losing access to Call of Duty, losing access to Activision Blizzard’s portfolio of
hit games and franchises—from Diablo and Overwatch to Tony Hawk’s Pro Skater and Crash
Bandicoot—would impose still more harm on SIE and, ultimately, on gamers.

Call of Duty is unique among the top few gaming franchises on PlayStation. The original Cal/ of

Duty game was first released in 2003 and was met with critical and fan acclaim. Since then, a
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new version has typically been released annually. This annual release cycle is unique among
AAA games (other than sports games), which typically are released with much longer gaps
because of the time and resources required to develop the games. Activision has solved that
problem by having four separate studios, each with at least hundreds of developers, act as the
lead studios for Call of Duty games. These lead developers are supported by several other
Activision studios as well as non-owned, work-for-hire co-development studios. No other game
franchise is developed through a similar rotation of multiple game studios. Cail of Duty
primarily releases games in three series. These include the original series (set in World War II),
Modern Warfare (set in present day), and Black Ops (narrative beginning during the Cold War).
Recent installments reportedly had production budgets in excess of $300 million based on a
report by IDG Consulting.

Market tracking data shows that since 2014, the best-selling paid console game in the United
States has been a Ca// of Duty installment in all but one year, 2018. In that year, Ca// of Duty:
Black Ops 4 ranked #2 behind Red Dead Redemption II, only a cultural phenomenon created by
major publisher Rockstar Games could narrowly unseat Call of Duty for one year. In 2020, the
#1 and #2 best-selling paid console games in the United States were both Ca// of Duty
installments. As of 2020, Activision reported that the Ca// of Duty franchise had lifetime
earnings of $27 billion. In 2021, Ca// of Duty once again was dominant, taking the #1 and #3
paid console game slots in the United States. Ca// of Duty’s success looks to continue. In 2022,

Call of Duty: Modern Warfare IT sold over units on PlayStation its first week, easily

vaulting the previous record iii units held by iii
SIE’s data shows that Ca// of ni _  ___. directly generating

ii in United States spending (including in-game sales of add-on content like player

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costumes and revival kits) in 2021. Worldwide, Cal/ of Duty generated ii” in spending
on the franchise’s games and add-ons in the same year. Ca// of Duty players, meaning those who
engage with Ca// of Duty at some point in a year, drive a significant portion of SIE’s revenue,
with the total spend on PlayStation by these players across all items—including hardware,
accessories, subscriptions, games and add-ons—accounting for over f° of overall PlayStation

spending.

. Call of Duty is played |) iii users on PlayStation alone. fo

. Inthe United States over the same

period, more than unique PlayStation users have played Cal/ of Duty, representing

of PlayStation’s United States user base. In 2021,

. While Microsoft has made large gaming acquisitions before, acquired games at these studios

drove only a fraction of PlayStation engagement compared to Activision Blizzard’s portfolio, or
Call of Duty alone. In 2021, Microsoft acquired ZeniMax Media, parent company of developer

Bethesda, for $7.5 billion. Bethesda develops the popular Fa//out and Elder Scrolls franchises.

Even so, Bethesda cannot match Ca// of Duty’s unique ability to inspire high levels of
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ee. As mentioned above, in 2021, [rr
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30. Call of Duty’s multiplayer offerings, including free-to-play Call of Duty: Warzone, are one
reason the franchise inspires such enthusiasm. Multiplayer gaming allows friends to
simultaneously play Ca// of Duty with each other from different locations. The social dimension
of the game is important to users’ experiences, re-enforces their loyalty to the franchise, and
drives continued engagement. Players are typically unwilling to switch to a competing franchise
unless their friends also switch, and if their friends switch they join them. This multiplayer
gaming also means that even players that play Ca// of Duty for only some of their gaming time
remain devoted to the franchise if they want to play with their friends.

31. SIE has collaborated with Activision to drive PlayStation sales. For example, SIE has sold the
PlayStation with Cal/ of Duty as a bundled game. One such package included a Blu-ray disc of
Call of Duty: Modern Warfare (2019) along with a jet black PlayStation 4 console and matching
controller, telling customers, “Prepare to go dark, Modern Warfare is back!”

32. SIE has also collaborated with Activision in relation to Cail of Duty to both ensure that new titles
of the franchise make use of the technical features of the PlayStation and to ensure that

PlayStation’s new features are developed to provide a better player experience. For example,

SIE and Activision’s collaboration resulted 1 i

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SIE has found collaboration

with Activision particularly fruitful given Activision’s depth of expertise as a leading developer.
This close collaboration requires a relationship built on trust given the sensitive nature of

information shared.

Impact on SIE if Activision Games—Especially Call of Duty—Were Made Fully or
Partially Exclusive to the Xbox

33. SIE is concerned that Microsoft will stop releasing Activision content on PlayStation post-
transaction, preventing PlayStation users from playing some of their favorite games on their
console of choice. If Activision games in general, and Cail of Duty in particular, were made

fully or partially exclusive to the Xbox console is

, and it would eliminate consumers’ choice of console on which to

experience Activision games.

34. Exclusivity that would harm both SIE and gamers could take multiple forms.

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36. In addition to the harm to consumers who would no longer have the option of playing Activision

games on their console of choice, the potential implications for SIE and its competitiveness are

. As noted, since 2019, Call of Duty has been played by ove
in the United States alone, and wv (iii it worldwide. In

2021, Call of Duty directly generated over Tit in United States spending for SIE, and

in worldwide spending. Further, the PlayStation users that play Ca// of Duty
generated average annual platform spending of around 7 worldwide from 2019 to
2021, accounting for their spending on hardware, accessories, subscriptions, games, and other
PlayStation services. As Cail of Duty players leave PlayStation for Xbox, much of this spending

on hardware, subscription services, and other games would be lost.

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40. Further, the acquisition would deter game and console innovation by eliminating or reducing the
collaboration between SIE and Activision. Over the past two decades, Activision has been an
important development partner of SIE. For example, in the latest console development cycle,

Activision collaborated with SIE on the development of new PlayStation features such as

ES I 2s pore ship would be lost
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once Microsoft acquired Activision and SIE could no longer share confidential details about its
next console in development: Even if some Activision games remained on PlayStation, SIE
could not share in-development console features with a Microsoft-controlled Activision, and

Activision would have less of an incentive to develop its games to take advantage of unique

PlayStation features or help SIE develop better consoles. For instance, [|

41. In addition to the impacts on console competition and game development, Ca// of Duty

In particular, 1f Microsoft made Ca// of Duty, along with other

popular Activision games like Overwatch and Diablo, available on Xbox’s Game Pass but chose

not to make them available on PlayStation’s PS Plus,

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Microsoft has publicly told regulators that it has made commitments to SIE to keep Call of Duty
available on PlayStation. As of the date of this declaration, no agreement has been reached with
Microsoft that addresses SIE’s concerns. Absent a signed agreement, Microsoft’s PR statements
fail to provide SIE with comfort that future versions of Activision titles will be available on
PlayStation, PS Plus, or SIE’s cloud gaming service at all, much less on terms competitive with
Xbox and Game Pass.

SIE is also aware that Microsoft has publicly said that it will not make Ca// of Duty an Xbox
exclusive. These statements are not credible. When Microsoft acquired ZeniMax Media, parent
company of Bethesda, it told investors that they “highly encouraged cross-platform play”
because “it’s good for the gaming ecosystem, it’s good for us.” It promised that it did not have
intentions “of just pulling all of Bethesda content out of Sony.” And Microsoft directly informed
regulators in Europe that it would not have an incentive to stop offering Bethesda content on
PlayStation. But, post-acquisition, Microsoft indicated that upcoming Bethesda releases
Starfield and Elder Scrolls VI (its two most anticipated releases) would be exclusive to Xbox and
PC and thus would NOT be available to PlayStation users. Following this, Bethesda’s SVP of
Global Marketing and Communications responded to upset consumers as follows: “I totally
understand if you are unhappy or pissed or whatever... Sorry. All I can really say is I apologize,

because I’m certain that that’s frustrating to folks, but there’s not a whole lot I can do about it.”

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In summary, Microsoft’s acquisition of Activision risks significantly and permanently

undermining the close competition between PlayStation and Xbox. Activision’s games, and Cal/

of Duty in particular, are critical to PlayStation’s competitiveness. [

This declaration is being provided to the Federal Trade Commission voluntarily in lieu of a
deposition, and I hereby request that my identity, my company’s identity, and the contents of this

declaration be kept confidential and exempt from public disclosure as provided by law.

Pursuant to 28 U.S.C. 1746, I declare, under penalty of perjury under the laws of the United
States of America, that the foregoing is true and correct. Executed on December 5, 2022, in

London, United Kingdom.

NS hy

Jim Ryan

 

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